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    REPORT IN THE MATTER OF NICHOLAS JAMES MCGUFFIN V.
                    MARK DANIELS ET AL.

                            Brian L. Cutler, Ph.D.
                              January 25, 2024

1. On June 28, 2000, Leah Freeman was abducted and murdered. Nicholas
   McGuffin, Freeman’s boyfriend at the time of her murder, was convicted of
   her murder in 2011. The charges against McGuffin were dismissed in 2019.

2. I have been asked by attorneys from Maloney Lauersdorf Reiner PC to review
   the materials in Appendix A and to evaluate any police investigative methods
   that, from a psychological perspective, may have contributed to the wrongful
   conviction of McGuffin. My review centers on, but is not limited to,
   investigators’ treatment of three witnesses: Kristen Steinhoff, Scott
   Hamilton, and Alycia Hyatt. Ultimately, I conclude that Steinhoff, Hamilton,
   and Hyatt were subjected to investigation practices that had the potential to
   coerce and contaminate their testimony. My opinions are guided by my
   training, education, and experience in the science of memory, cognition, and
   eyewitness identification, my review of the relevant psychological and other
   social science research literature, my knowledge of police practices as it
   pertains to interviews, interrogations, eyewitness identifications, and the
   training thereof, and my lengthy experience as a researcher and published
   author in these fields, as documented in my report narrative.

3. Before reviewing investigative actions involving the aforementioned
   witnesses, I provide an overview of coercion and contamination and describe
   their roles in wrongful conviction. It is important to note that much of the
   research literature on which I rely examines coercion and contamination in
   the context of coerced and/or false confessions. In what follows, I apply this
   research literature more broadly to the treatment of witnesses. Applying
   coercion in false confession to witness testimony cases is appropriate, from a
   scientific perspective, for a number of reasons. For example, the
   psychological factors at play in the coercion of inculpatory statements (or
   confessions) from suspects are the same factors that determine whether a
   statement from a witness was the product of coercion. The fundamental
   social psychological factors do not turn on distinctions based upon the type of
   statement (e.g., whether it is a “confession” or something else) or the type of
   person to whom the factors apply (e.g., whether the person is considered by
   the police to be a suspect, a witness, or something in between). The research
   on coercion of (non-suspect) witnesses demonstrate similar patterns and
   findings as research on coercion of suspects (e.g., Kaasa et al., 2013; Loney &
   Cutler, 2015; Moore, Cutler & Shulman, 2014; Tepfer, Nirider, & Tricarico,
   2010). Likewise, even from an investigation or law enforcement perspective,

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     the distinction between suspects and witnesses is blurry. Suspects are
     witnesses to their own and others’ behaviors as well as to events around the
     time of the crime. Non-suspect witnesses are sometimes interrogated as
     suspects (Inbau et al., 2013) and later charged as suspects (or are threatened
     to be charged as suspects).


Witness Coercion and Contamination

  4. Coercion results from a combination of individual and situational risk factors
     that render individuals vulnerable to social influence in their interactions
     with police investigators. My use of the term “coercion” in this report refers
     to psychological coercion and not coercion as defined by law. Legal
     definitions of coercion are varied, incorporate concepts such as voluntariness,
     and focus on tactics such as threats, promises, and physical confrontation. I
     offer no legal opinions about whether any witnesses were actually coerced, as
     a matter of law. For scientific purposes, my colleagues and I (Kaplan et al.,
     2019) have derived the following psychological definition of coercion (p. 7):
     “Coercion in police interrogation consists of the use of persuasive techniques
     that limit the suspect’s autonomy by manipulating the perceived costs and
     benefits of possible courses of action and/or depleting the suspect’s motivation
     or ability to resist acceding to the investigator’s demands.” Our definition is
     similar to that of Luna (2022, p. 7), who defined coercion as “the use of power
     to constrain an individual’s situation, to impose one’s will on that individual
     via the use of force or conditional proposals (to include both threats and
     offers).” Coercion has been identified as the single largest cause of false
     confessions that have led to wrongful convictions (Kassin et al., 2010; Leo,
     2008).

  5. The powerful effect of coercion is illustrated in cases of innocent suspects who
     are subjected to high pressure interrogations and ultimately falsely confess
     (Kassin, 2005). Innocent people are more likely than guilty people to waive
     their rights to remain silent, to cooperate, and to speak freely with
     investigators (Kassin, 2005; Kassin & Norwick, 2004). Rather than
     remaining silent, the innocent suspect repeatedly denies their involvement in
     the crime, attempts to tell their side of the story, and at least initially,
     believes that they can convince the investigators that they are innocent.
     Appearing uncooperative by maintaining their innocence, the innocent
     suspect’s protestations trigger more aggressive and/or accusatory questioning
     by the interrogators (Kassin, Goldstein, & Savitsky, 2003). The use of more
     aggressive or accusatory tactics by the investigators in turn makes the
     suspect appear more anxious and suspicious. The suspect exerts physical
     and mental effort in their attempts to convince the interrogators of their
     innocence, but failing, the suspect’s resources become depleted over time

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   (Guyll et al., 2013, 2019). Upon failing to convince the investigator of their
   innocence, the innocent suspect eventually reaches a state of hopelessness,
   gets worn out, and, in order to end the ordeal of interrogation, admits to
   involvement in the crime. The innocent suspect may continue to believe that
   despite agreeing to confess to the crime, they will prove their innocence in
   court. Or, the innocent suspect may become convinced by the investigators
   that establishing their innocence is impossible and confessing to a minimized
   (excusable, justifiable) version of the crime will mitigate punishment. But
   often, even without additional evidence linking the suspect to the crime, the
   suspect’s confession becomes the new reality, and the false confession results
   in a wrongful conviction.

6. Contamination occurs when the investigator provides details of a crime to a
   witness who is naïve to those details but subsequently adopts them in their
   reports and/or testimony. The label “contamination” is used because it is the
   investigator, not the witness, who is the originating source of the detail. A
   significant consequence of contamination is that it makes witness statements
   appear compelling to others. The existence of non-public facts is taken as
   proof that the statements should be credited. This is true, sadly, even when
   the statements are false. For example, in a study of the first two-hundred and
   fifty (250) post-conviction DNA exonerations of innocent prisoners in the
   American criminal justice system, Garrett (2010) demonstrated that
   contamination was present in 95% of the false confession cases in his data set
   (38 of 40 cases). In other words, police interrogators in most of these cases
   fed the suspect unique non-public facts that “only the true perpetrator would
   know,” and the prosecution erroneously alleged that the suspect volunteered
   these facts and that the suspect thereby corroborated the reliability of the
   confession statement. Because the jury in each case believed the prosecution
   rather than the defense, each of the defendants was convicted, and in each of
   these cases, the defendant’s innocence (and the falsity of the confession) was
   proven many years later by DNA evidence. Garrett replicated the
   contamination finding in another set of false confession/wrongful conviction
   cases (Garrett, 2015).

7. The combination of coercion and contamination of witness statements is a
   powerful contributing force to wrongful conviction (Appleby, Hasel, & Kassin,
   2013; Garrett, 2010, 2015; Kassin et al., 2010; Leo, 2008; Leo & Drizin,




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        2010).1 The National Registry of Exonerations (henceforth, the Registry), a
        project of the University of California Irvine Center for Science & Society, the
        University of Michigan Law School, and Michigan State University College of
        Law, maintains a database of exonerations since 1989. Their work includes
        coding case characteristics to better understand factors that contribute to
        wrongful convictions and ultimately prevent their occurrence.

    8. As of January 9, 2024, the Registry had logged 3,443 exonerations, of which,
       27% involved mistaken eyewitness identification, 64% involved perjury or
       false accusations, 13% involved false confession, 25% involved false or
       misleading forensic evidence, and 60% involved official misconduct. Three of
       these contributing factors, mistaken identification, perjury or false
       accusations, and false confession, are forms of false witness testimony. Using
       the Registry’s interactive data display, I selected only cases that contained
       none of these three forms of witness testimony and found that there were 580

1 Leo and Drizin (2010) illustrate how coercion and contamination errors are preceded by misclassification

errors. The misclassification error is the erroneous conclusion that an innocent suspect is the perpetrator, and
that misclassification triggers coercion and contamination errors. As Leo has shown (2008), part of this has to
do with the structure of interrogation in America, which is guilt-presumptive and accusatory. So, once a person
is deemed a suspect, investigators are more likely to use tactics that involve coercive elements and/or
contamination because of the assumption the person is guilty. Misclassification errors are also facilitated and
exacerbated by tunnel vision (Findley & Scott, 2006) during the investigation and are particularly prevalent in
the investigation of cold cases (Innes, 2003). According to Findley and Scott (2006), confirmation bias in
investigations is a key contributor to tunnel vision and miscarriages of justice. Confirmation bias refers to
peoples’ tendencies to seek out, interpret, remember, and credit information that conforms to their beliefs,
expectations and/or values. Confirmation bias also refers to the tendency to ignore or discount information that
does not confirm their beliefs, expectations and/or values. Peoples’ tendencies toward confirmation bias are
strongest when the information being evaluated is ambiguous, when the issues evoke extreme emotions, and
when beliefs are strongly held. The quote “I wouldn’t have seen it if I hadn’t believed it,” attributed to
philosopher Marshall McLuhan, aptly characterizes confirmation bias. The term confirmation bias was first
introduced in the 1970s (Mynatt, Doherty, & Tweney, 1977), around the time when a great deal of psychological
research focused on cognitive heuristics and biases (e.g., the historic work of University of Chicago scholars
Amos Tversky and Daniel Kahneman). Although the label was coined in the 1970s, psychological research
preceding the 1970s demonstrated aspects of confirmation bias (e.g., Wason, 1960). Today, confirmation bias is
a well-established, well-accepted phenomenon with 60 years of supporting scientific evidence. Confirmation
bias has been linked to coercion in suspect interrogations (Kassin, Goldstein, & Savitsky, 2003), suggestive
eyewitness identification procedures (Wells et al., 2020), and faulty forensic testing (Kassin, Dror, & Kukucka,
2013). Misclassification errors are also facilitated by deception detection errors at the investigation stage prior
to interrogation. Investigators interview potential suspects to determine their levels of suspiciousness (Inbau et
al., 2013). During these interviews, investigators may incorrectly conclude that the potential suspects or
witnesses are lying and perceive them as more suspicious, and on this basis put pressure on them through
repeated interviews and coercion, evidence of which appears in this case. Decades of psychological research,
however, have consistently shown that people operate at or only slightly above chance levels when
discriminating true from false statements (Bond & DePaulo, 2006). Experienced police investigators fare no
better than lay people at discriminating true from false confessions (Kassin, Meissner, & Norwick, 2005). While
training in deception detection generally does little to improve lie detection accuracy, it does typically boost
confidence in lie judgments (DePaulo & Pfeifer, 1986). Confidence in deception detection decisions does not
strongly relate to accuracy (DePaulo et al., 1997), but undue confidence that a suspect is lying can result in
coercive and guilt-presumptive interrogations that are liable to produce false confessions (Kassin, Goldstein, &
Savitsky, 2003; Leo, 2008) and false witness testimony (Loney & Cutler, 2016; Moore, Cutler, & Shulman,
2014).




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      remaining exonerations. This means that 2,863 (83%) of the exoneration
      cases contained at least one form of false witness testimony.

   9. Based on my understanding of psychological issues surrounding coercion and
      contamination of witness accounts, my experience and training, and my
      review of the documentation provided to me in Appendix A, I conclude that
      witnesses Steinhoff, Hamilton, and Hyatt were subjected to investigation
      practices that had the potential to coerce and contaminate their testimony.
      In the remainder of this report, I document those investigation practices,
      organized by witness. In reaching these conclusions, as stated, I do not offer
      any opinion, as a legal matter, about whether any witness was coerced. In
      addition, there are disputes about some of the things that transpired with
      each of these witnesses. I do not offer any credibility determinations or
      purport to resolve any disputes among the witnesses (where they exist).
      Ultimately, resolution of any issues of credibility or exactly what happened,
      will be resolved by the trier of fact.

   10. Debates about whether opinions such as those that I am prepared to offer
       sometimes hinge on whether such opinions exceed the common sense of
       laypeople. The question of whether psychological theories and research
       findings concerning coercion, contamination, and eyewitness memory exceeds
       common sense has been subjected to numerous research reports using a
       variety of research methodologies, including surveys of general knowledge,
       trial simulation experiments, and studies of peoples’ abilities to distinguish
       true from false confessions, as well as research reviews (e.g., Chojnacki et al.,
       2008; Costanzo, Shaked-Schroer, & Vinson, 2010; Cutler, Loney, & Findley,
       2014; Cutler & Penrod, 1995; Desmarais & Read, 2011; Henkel et al., 2008;
       Kassin et al., 2001; Kassin et al., 2010; Mindthoff et al., 2018; Simons &
       Chabris, 2011). Together, these studies reveal gaps in peoples’
       understanding of the psychological factors underlying the phenomena
       discussed below.

Witness Kristen Steinhoff

   11. Steinhoff maintained that she was a friend of McGuffin, spent time with
       McGuffin on the night that Freeman went missing, and helped McGuffin
       search for Freeman. According to records of the police and sheriff’s
       departments, Steinhoff was interviewed at least 15 times before her trial
       testimony: July 5, 2000, February 14, 2002, July 5, 7, and 10, 2000,
       September 12, 16, and 17, 2000; August 2, 2001; February 14, 2002 January
       25, March 4, May 11, June 9, and June 17, 2010. She testified at McGuffin’s
       trial on July 12, 2011.




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12. While it is common for witnesses to be interviewed on several occasions
    (Fisher & Geiselman, 1992), 15 times (at least) prior to trial testimony is
    highly unusual and an extreme departure from standard police practices.
    The repeated interviewing strongly suggests that investigators believed that
    Steinhoff was withholding information or being deceptive. As explained in a
    footnote above, detecting deception is fraught with errors, and detection
    accuracy only marginally exceeds guessing rates, even among experienced
    investigators.

12. The passage of time between Freeman’s disappearance on June 28, 2000 and
    the later interviews (particularly 2001, 2002, 2010 and later) is highly likely
    to lead to memory decay. According to more than 100 years of psychological
    research on the effects of retention interval on human memory (e.g.,
    Deffenbacher et al., 2008; Lampinen et al., 2012), memory decay follows a
    predictable pattern of decline with time (e.g., Deffenbacher et al., 2008;
    Lampinen et al., 2012). Some research shows that even in the absence of
    suggestive interviewing, repeated interviewing of witnesses leads to
    increased witness confidence without changes in witness accuracy (Shaw,
    1996; Shaw & McClure, 1996).

13. Repeated interviewing can have more troubling effects because the process of
    interviewing someone repeatedly can, itself, impact their memory and
    subsequent testimony. Decades of research on the influence of misleading
    post-event information demonstrates that such information impairs memory
    and can lead to the creation of wholly false memories (Loftus, 2005). Asking
    a witness to imagine an event that never occurred can inflate confidence that
    the event in fact occurred, a phenomenon known in the research community
    as “imagination inflation” (Garry et al., 1996). As people retell false
    memories, the reconstructive nature of memory can lead to increased detail
    and nuance as well as increased confidence in one’s recall. Further, in cases
    in which recall is partly true and partly false, people have difficulty
    distinguishing between the events they actually experienced and those that
    were added through imagination or learning from other sources (Mazzoni &
    Memon, 2003). This is one of the reasons why professionally trained
    investigators are taught to avoid providing non-public information to
    witnesses (and suspects) (e.g., Inbau et al., 2013).

14. Most of the investigators’ interviews with Steinhoff were unrecorded.
    Investigator notes are a poor substitute for recordings. Research on officers’
    notes shows substantial gaps in completeness of notes taken from witness
    interviews. One study of investigators’ verbatim notes (Lamb et al., 2000) of
    their forensic interviews with alleged child abuse victims compared
    investigators’ notes with the audio recordings of the interviews. Lamb and
    colleagues found that investigators failed to report many details provided by

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        the children and many of the utterances used by the investigators to elicit the
        details. The investigators’ notes tended to misrepresent the structure of the
        interviews. The notes were typically incomplete, having many errors of
        omission. There was a tendency to misclassify responses given to directed
        questions as responses given to open-ended questions. Another study
        (Warren & Woodall, 1999) compared experienced investigators’ recall for
        their interviews with the actual interview transcripts. In that study, the
        investigators recalled only about 20% of the questions that they asked to the
        children and the answers the children gave. Similar results were reported in
        a study of the completeness and accuracy of experienced officers’ notes of
        adult witness interviews (Gregory, Compo, Vertefeuille, & Zambruski, 2011).
        Gregory et al. found that the notes focused on witnesses’ answers, left out the
        questions posed to the witnesses, and omitted large amounts of information.

    15. Two of the investigators’ interviews with Steinhoff were recorded and provide
        the most direct evidence of their explicit attempts to persuade or coerce
        testimony from Steinhoff.2 These interviews took place on March 4, 2010 and
        June 26, 2010. The March 4 interviews were conducted by Detectives
        Andrew (DA) and Riddle (DR). The June 26 interview was conducted by
        Detective Riddle (DR), Chief Dannels (CD), Investigator Tabor (MT), and
        District attorney Frasier (PF).

    16. With the assistance of Dr. Jeffrey Kaplan, a former graduate student under
        my supervision and collaborator on numerous research projects and cases, we
        subjected these interviews to evaluation using the Interview and
        Interrogation Assessment Instrument (henceforth, IIAI).3 The IIAI includes
        36 empirically-derived interrogation tactics divided into five domains
        associated with coerciveness: (1) Rapport-Building Domain, (2) Evidence-
        Based Domain, (3) Social and Psychological Manipulation Domain, (4)
        Consequence-Based Domain, and (5) Minimization Domain. The IIAI also
        includes assessment of personal risk factors, the interrogation environment,
        the interviewee’s demeanor and behaviors, and the degree of investigator
        contamination of the interviewee’s statement.4

    17. The audio-recorded portion of the March 4, 2010 interview lasted 1 hour and
        16 minutes. In that recording, investigators used 21 Evidenced-Based, Social

2 Whether additional interrogation tactics from the IIAI domains were used before or after the recorded

interview is unknown.

3 In 2016 my colleagues and I received a research grant from the Social Sciences & Humanities Research

Council of Canada for research on the assessment of coercion in videorecorded interviews and interrogations.
Our research on the development of the Interview and Interrogation Assessment Instrument has been described
in several publications (Kaplan et al., 2019; 2023) and the Open Science Framework.

4 Although we assessed within-interrogation contamination, the results are ambiguous given the numerous

interviews that investigators conducted with Steinhoff prior to the recorded interrogation.

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        and Psychological Manipulation, Consequence-Based, and Minimization
        Tactics with Steinhoff. The full list of tactics used appears in Appendix B.

    18. Using 12 Evidence-Based Tactics,5 the investigators alluded to information
        allegedly obtained from other witnesses, Freeman’s blood allegedly found in
        one of the cars, forensic evidence, profiles, the voluminous file, and the
        impending polygraph. For example:

             •   “You know people have told us that you've actually told them things
                 that happened?” DR [00:18:40, p. 78]

             •   “So Kristin, I need to ask you: Is there any reason why Leah's blood
                 would be found in that car?” DR [00:10:25, p. 11]

    19. The 2 Social and Psychological Manipulation Tactics6 used by the
        interrogators focused on the grief of Freeman’s mother and family and
        Steinhoff’s drug involvement. The two tactics were:

             •   “I want that person held accountable. Not for my own gratification, but
                 for the mom who every night has to go to bed thinking of her dead
                 daughter. Her daughter who was left out in the wood to decompose.
                 You know? That's what I want closure for.” DR [00:29:45, p. 29]




5 Evidence-Based Tactics are designed to convince the suspect that they have no chance of convincing anyone of

their innocence. In the case of witness interviews, Evidence-Based Tactics convince the witness that they have
no chance of convincing anyone that they do not possess the information that the investigators believe they
have. Such tactics have several psychological effects, including cognitive reframing and depleting the suspect’s
ability to self-regulate. Cognitive reframing during the interrogation occurs when a suspect concludes that
establishing their innocence is no longer feasible and switches their focus to the next best option, minimizing
their chances for harsh treatment (Kaplan et al., 2019; Leo, 2008; Scherr et al., 2020). In the case of a witness,
cognitive reframing may take the form of abandoning an attempt to convince the investigator of the witness’s
beliefs in favor of the perceived investigator’s beliefs. Put another way, the use of Evidence-Based Tactics (and
other tactics as described below) represents a form of choice architecture on the part of the investigators (Thaler
& Sunstein, 2008). Although Evidence-Based Tactics have the general effects of putting pressure on suspects to
confess (Inbau et al., 2013) or a witness to change their testimony, false evidence ploys and bluffs are particular
risk factors for false statements (Kassin et al., 2010). Decades of research in social and cognitive psychology has
shown that misleading people renders them vulnerable to manipulation (Kassin et al., 2010). Trainers eschew
the use of false evidence tactics with vulnerable populations (Carr, 2015; Inbau et al., 2013), or discourage its
use altogether (Centrex, 2004; Wicklander-Zulawski, 2020).

6Social and Psychological Manipulation Tactics heighten emotional distress, contribute to self-regulatory

decline, interfere with cognitive processing and decision-making and render interviewees more vulnerable to
social influence (Davis & Leo, 2012; Kaplan et al., 2019).


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            •    “One of the things I hear, and I've heard in following up on this thing,
                 is that you were a source of a lot of drugs. And be that as it may,
                 whether you were or weren't, that was ten years ago. And that there
                 was a lot of the Mexican drug connection that was hanging around you.
                 I don't know if it was from your house or your mom or whoever, but
                 that that was a connection that was pretty prevalent around you. Is
                 that true?” DR [00:22:35, p. 22]

    20. The investigators used Consequence-Based Tactics7 on 5 occasions. Four of
        these tactics suggested that Steinhoff was at risk for criminal prosecution
        and possibly prison. For example:

            •    “…my biggest fear is, is that somebody goes down for this, and they
                 drag you down with them. . .I'm just telling you what my biggest fear
                 is. And for somebody like you, who's got so much going for them, who
                 may have made a mistake or may have been involved with people you
                 shouldn't have been involved with back then, and then you get drug
                 down with them.” DR [00:23:55, p. 23]

            •    “…the last thing your kids need to do is come visit you in prison. I've
                 seen kids that have had to do that and it is not pretty.” DR [00:26:00, p.
                 25]:

    21. On 2 occasions the investigators used the Minimization Tactic of appealing to
        Steinhoff’s best interests (from their own perspectives). The two tactics
        were:8

            •    “The people who aren’t going to go down are the people who, if they
                 know something, say something.” DR [00:24:10, p. 23]

            •     “And if you think there’s anybody that can drag you down, it’s
                 important that we know about it now and you do something good for
                 yourself now. Because the people who do something good for
                 themselves now are going to save them heartache later. Does that
                 make sense?” DR [00:25:00, p. 24]



7 Like Evidence-Based Tactics, Consequence-Based Tactics in various ways put pressure on suspects to confess,

or in this case, witnesses to change their statements. Accusations of guilt and deception, derogating
information provided by the interviewee, emphasizing the seriousness of the crime, leveraging expertise,
trapping the interviewee, showing nonverbal signs of aggression, such as staring, and asking guilt-presumptive
questions reinforce the idea that the interviewee has no chance of maintaining their position and create
punishments (both distal and proximal) for continued resistance.

8 Other forms of Minimization Tactics were used in the subsequent interview. These forms and their

psychological effects are explained below.

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    22. Steinhoff denied having additional knowledge of the crime 17 times during
        this interview.

    23. In the recorded portion of the June 26, 2010 interview, the investigators put
        far more pressure on Steinhoff to reveal details that she had not provided
        previously and persistently maintained she did not have. This interview
        lasted 1 hour and 38 minutes, involved four separate authority figures, and
        was conducted in a small interview room, the likes of which are known to
        create feelings of isolation and stress (Kassin et al., 2010). Steinhoff
        complained of being physically ill and showed signs of it as well. Discomfort
        reduces the ability to self-regulate and renders interviewees more vulnerable
        to social influence (e.g., Galliott & Baumeister, 2007).

    24. During the nearly 100-minutes covered by the recording (and, again, without
        knowing what preceded it), the investigators used 107 coded interrogation
        tactics to put pressure on Steinhoff. These tactics included 4 Rapport-
        Building Tactics, 48 Evidence-Based Tactics, 12 Social and Psychological
        Manipulation Tactics, 26 Consequence-Based Tactics, and 17 Minimization
        Tactics, all of which are listed in Appendix C.

    25. With respect to Rapport-Building Tactics,9 most notable is that on 3 occasions
        the investigators misrepresented themselves as Steinhoff’s advocate, for
        examples:

             •   “You know? We don't get many opportunities to show, to advocate for
                 you. And right now you – I mean, it's not looking good. So we're trying
                 to do that for you.” CD [00:55:35, p. 63].




9 Trainers of interrogation (and many forms of interviewing) recommend that the interrogator take efforts to

establish rapport with the suspect in the service of making the suspect comfortable with disclosing personal
information with the interrogator (e.g., Inbau et al., 2013). Psychological research demonstrates that
persuasion is more effective when the source of persuasion expresses empathy, commonality, and liking for the
target of persuasion (Cialdini, 2001). Thus, engaging in small talk, sympathizing with the defendant, and
finding common ground enhance persuasion. Offering a concession enhances compliance (Burger et al., 2006).
Thus, some forms of rapport-building have the effects of, on the one hand, making an interrogation seem less
oppressive or coercive, but on the other hand, enhancing the interrogator’s persuasive influence over the
suspect. Research has also demonstrated that rapport-based tactics enhance the suspect’s vulnerability to
misleading information (e.g., Saurland et al., 2018; Vallano & Schreiber Compo, 2015; Wright et al., 2015).
Some (Crough et al., 2021) have argued that the establishment of rapport during the adversarial context of a
suspect interview is inherently deceptive and is independent of – and often in opposition to – the suspect’s best
interests. Perhaps the most notable example of a problematic tactic falls under the tactic of minimizing the
interrogator’s role. Investigators have been observed at times portraying themselves as suspects’ lifelines and
portraying their roles in the interrogations as ones meant to facilitate helping suspects (Kaplan & Cutler, 2022).
Premising interrogations on seeking to help suspects is discouraged in interrogation training manuals and
literature (Carr, 2015; Inbau et al., 2013; Wicklander-Zulawski, 2020).

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      •    “I told you before, I'll say it again. This will be the last time I’ll
          probably say it. The advocate is sitting in a chair in front of you. In
          fact both of us, to help you, not hurt you.” DR [01:32:15, p. 98]

26. The Evidence-Based Tactics included presentation of evidence allegedly
    obtained from other witnesses. This happened on 12 occasions during the
    recording, for example:

      •   “I have an eyewitness that puts you and Nick talking” CD [00:31:20, p.
          33]

27. Investigators arranged for Steinhoff to take a polygraph exam and then told
   her she failed the test, claiming that she was being deceptive in response to
   critical questions. The use of a polygraph, regardless of its accuracy, is a form
   of evidence ploy. If she in fact did not fail the test, the investigators’
   statements about the polygraph results would be considered a false-evidence
   ploy. False-evidence ploys are particular risks not just for coerced statements
   but for generating false confessions and statements (Kassin et al., 2010). In
   the recording, false evidence was presented to Steinhoff on 20 occasions
   (assuming that she did not in fact fail the polygraph test), for example:

      •   “And, I looked at them -- the results, just to make sure. And I'm not a
          polygrapher; I'm not an expert in that field. But I looked at what -- you
          can see where you had problems and when you didn't have problems.”
          CD [00:20:45, p. 23]

28. The investigators used Social and Psychological Manipulation Tactics on 12
   occasions reflected in the recording. These questions generally asserted that
   the knowledge Steinhoff was withholding represented a burden, a burning
   seed inside her, something on her conscience or her chest and causing her
   pain. The investigators implored her to obtain release by providing
   previously unrevealed information to them. For example:

      •   “…there's a deep burning seed in there, that's been hanging on you for
          ten years, that’s - I mean, until I crack that seed and make it grow and
          get it out of your system and your con - I - it’s going to hurt.” DR
          [01:19:45, p. 86]

29. The investigators used Consequence-Based Tactics on 26 occasions during
   the audio-recorded portion of the questioning. These tactics included
   accusing Steinhoff of lying on 9 occasions, emphasizing the seriousness of the
   consequences she might face on 13 occasions, and staring her down on 4
   occasions. For example:



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             •    “We gave you an opportunity to show credibility this morning . . and
                  prove yourself. That didn’t happen Kris.” CD [00:35:35, p. 38]

             •    “Kris, once the grand jury starts, and once that goes through the
                  process and they make a decision who gets arrested -” CD [00:49:30, p.
                  54]

    30. The investigators used Minimization Tactics10 on 17 occasions during the
        audio-recorded portion of the questioning. These tactics included appealing
        to Steinhoff’s best interests on 5 occasions, downplaying the seriousness of
        the situation on 2 occasions, degrading others on 1 occasion, and making
        promises of lenient treatment on 9 occasions. For example:

             •    “This is an opportunity that I want you to take advantage of.” CD
                  [00:50:00, p. 55]

             •    “...especially when they're, when they're at that point in their life. And
                  then they get worried: 'Man, I didn't say back then, I'm worried I might
                  get in trouble today because I didn't do the right thing way back when.'
                  People make mistakes, Kristin.” DR [00:10:40, p. 13]

             •    “And that's why I'm offering you, again, that immunity, to tell me what
                  he said in detail. Or tell me in general what you remember from those
                  conversations. That's where I'm -- I want to provide you that
                  insurance.” CD [01:09:15, p. 76-77]

    31. During the audio-recorded portion of the questioning Steinhoff on 67
        occasions denied having the additional information the investigators sought.

    32. In sum, in the two recorded interviews combined, five separate authority
        figures used 128 interrogation tactics associated with coerciveness to
        pressure Steinhoff to bring forth details that she may not have revealed in
        the many unrecorded interviews or encounters with authorities in 2000,
        2001, 2002, and 2010. In the higher-pressure, June 26, 2010 interview,
        Steinhoff was ill, which likely rendered her more vulnerable to investigator
        influence. The interrogation tactics used are known in the research to


10 Professionally trained interrogators are trained to not explicitly tell a suspect that they will be treated more

leniently if they confess, but interrogators can – and are encouraged to -- say things that will make the suspect
reach this conclusion on their own (Inbau et al., 2013). And that’s the effect that minimization often has. The
suspect is encouraged to infer (without being explicitly told) that if they adopt a morally, psychological, or
legally defensible justification (one suggested by the investigator), the suspect will receive more lenient
treatment – maybe even immunity – than if they refuse to cooperate (Inbau et al., 2013). The use of
minimization techniques that imply leniency increases the risk of eliciting a false confession (Kassin et al.,
2010; Scherr et al., 2020). In this case, however, both implicit and explicit promises were used.


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   enhance feelings of isolation and stress, deplete the interviewee’s ability to
   self-regulate and maintain their position, narrow their choices, succumb to
   the demands of authority figures, and change their behavior in response to
   implicit and explicit promises of leniency (e.g., Davis & Leo, 2010; Kassin et
   al., 2010; Leo, 2008). These tactics continued despite Steinhoff’s continued
   denials of having the knowledge that investigators pressured her to disclose.
   In total, she denied having this knowledge 84 times.

33. It is noteworthy that the two recorded interviews with Steinhoff were “non-
    custodial” interviews and that Steinhoff was told she was free to leave.
    Merely uttering the words “free to leave” does not necessarily create a
    perception of freedom to leave. Coercive tactics led to perceptions of
    psychological custody in recent research (Alceste & Kassin, 2021; Alceste et
    al., 2018). As an example of the mixed-messaging that sometimes occurs in
    non-custodial interviews, during the latter recorded interview, when
    Steinhoff attempted to exercise her option to leave the interview, she was met
    at the interview room door by an investigator who persuaded her to remain in
    the room.

34. The U.S. Supreme Court, 75 years ago, in its historic Miranda decision,
    specifically cited the Reid Technique – which uses tactics mirroring those
    used with Steinhoff -- as the reason we need Miranda warnings (see
    Footnotes 15-34 of the Miranda decision). The Reid Technique, and its guilt-
    presumptive questioning methods are part of the misclassification errors
    described above. (Leo & Drizin, 2010). The recorded interviews did not
    include Miranda warnings to Steinhoff.

35. In the preceding paragraphs I focused substantially on the two recorded
    interviews with Steinhoff. Absent recordings of the many other interviews
    with Steinhoff, there is no way to know with certainty the degree of pressure
    placed on Steinhoff to offer additional details that the investigators believed
    she had – and she maintained she did not have.

36. The absence of recordings of the previous interviews also renders it
    impossible to assess whether, or the extent to which, investigators
    contaminated Steinhoff’s beliefs or statements by suggesting details that
    Steinhoff did not produce or details that were contrary to the ones she did
    produce. In the recorded interviews, the investigators indeed suggested
    details that were not offered by Steinhoff during those interviews. For
    example, in the March 4, 2010 interview, investigators were the first to offer
    that she was driving around with McGuffin the night Freeman went missing;
    Freeman’s blood was found in the car; McGuffin might have confessed to her;
    Steinhoff had told people that McGuffin killed Freeman and that she was
    involved; and Steinhoff saw McGuffin at the Maytag place pacing in circles.

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     In the June 8, 2010 interview, investigators were the first to suggest that
     Steinhoff was threatened to stay silent. Some of these details were known
     well before these interviews – that Steinhoff saw McGuffin at the Maytag
     place and rode around with him. The other details are contested. My point is
     that the investigators demonstrated in these recordings that their
     questioning techniques involved suggesting inculpatory details to Steinhoff
     and likely others.

  37. Investigators have at their disposal several methods of preventing and/or
      documenting contamination of witness statements, and professionally trained
      investigators in 2000 and 2010 would have understood the importance of
      avoiding contamination by using some method to prevent non-public
      information from being communicated to a witness or suspect. One method
      of preventing contamination is to not suggest or reveal other evidence in the
      case. Trainers recommend against incorporating case evidence into
      interrogations or doing so very sparingly (e.g., Inbau et al., 2013). A second
      method is to create a “hold-back” list (e.g., Snook, Eastwood & Barron, 2014).
      A hold-back list is a list of evidence created by the investigators before the
      interview documenting evidence that will not be shared during the interview.
      The hold-back list requires pre-planning and intentionality. A third method
      is to record interviews as a means of both prevention and documentation
      (e.g., Kassin et al., 2010; Sullivan, 2014). Recording interviews and
      interrogations is an increasingly popular practice among law enforcement. In
      the interviews with Steinhoff, the investigators revealed evidence in the
      recorded interviews. There is no evidence that hold-back lists were used in
      any interviews. There were many unrecorded interviews.

Witness Scott Hamilton

  38. There was also evidence of coercive practices used with witness Scott
      Hamilton. In 2000, Hamilton was interviewed at least 3 times (July 5, July
      10, August 15) in addition to testifying before a Grand Jury. In 2010,
      Hamilton was interviewed at least 6 times (January 25, January 27, January
      28, April 29, May 12, and May 18) in addition to testifying before the Grand
      Jury and at McGuffin’s trial. On 2 of the 6 occasions in 2010 (May 12 and
      May 18), Hamilton was subjected to polygraph exams. One of these
      interviews (April 29) was recorded. The recorded portion of the interview was
      low in coerciveness (though there may have been contamination -- there is no
      way to know). There is no way to ascertain the level of pressure put on
      Hamilton to provide details concerning McGuffin and/or contamination in the
      unrecorded interviews.

  39. In addition to their many interviews with Hamilton, investigators arranged
      two pretext calls, one in which Hamilton spoke with McGuffin’s father

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   (January 23, 2010, recorded) and another in which Hamilton spoke with
   McGuffin himself (March 23, 2010, recorded and transcribed). Pretext calls
   are investigative techniques designed to elicit inculpatory statements from
   suspects that can then be used in the suspect’s prosecution. Because the
   source (i.e., caller) eliciting the inculpatory statements is not a member of law
   enforcement but rather someone known and perhaps trusted by the suspect,
   pre-text calls are considered to be a form of “interrogation by proxy” (Davis et
   al., 2023).

40. When investigators deploy a pretext call, they typically coach the caller on
    what to say to achieve the investigator’s goals of eliciting inculpatory
    statements from the suspect. Pretext calls have become part of the
    investigator’s toolbox, particularly in sexual assault cases in which consent is
    contested, and there is scant evidence other than the testimony of the alleged
    victim and defendant (Davis et al., 2023). As explained by Davis et al. (2023),
    pretext calls are designed to keep the suspect engaged and unaware of police
    involvement in the conversation while minimizing suspicion and resistance to
    providing inculpatory details. According to Davis et al. (2023), pretext calls,
    like other forms of interrogation by proxy, increase the risk of false
    confessions and false incriminating statements. Pretext calls lack the
    fundamental safeguards present in questioning by investigators, such as
    Miranda warnings and prohibition of threats and promises (Inbau et al.,
    2013).

41. In the January 23, 2010 call with McGuffin’s father, Hamilton lied to him
    about the purpose of the call and invited McGuffin’s father to give him advice
    on what to say or not say to the investigators. In the March 23, 2010 pretext
    call, Hamilton lied to McGuffin about the purpose of his call and asked
    McGuffin if Hamilton should keep his “mouth shut.” Hamilton thrice
    suggested that McGuffin told him that [on the night of Freeman’s
    disappearance] McGuffin dropped her off at McKay’s – a fact that would be
    considered inculpatory if McGuffin assented to its accuracy. McGuffin thrice
    denied this assertion. Hamilton again lied to McGuffin by telling him that he
    did not want to incriminate McGuffin.

42. Thus, while the pretext calls that investigators arranged did not include
    threats or promises, they are inherently deceptive and included deceptive
    assertions about a key detail in the case (in Hamilton’s call with Nick
    McGuffin). Such practices can lead to both coercion and contamination of a
    witness’s or suspect’s statement.




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Witness Alycia Hyatt (Hartwell)

   43. Alycia Hyatt (Hartwell) was reported as a bystander eyewitness in this case.
       The details that Hyatt provided included allegedly seeing Freeman walking
       by the high school on the night of her disappearance. At the time of this
       alleged sighting, Hyatt was riding in a car driven by her friend’s mother and
       while interacting with her friend. Hyatt maintained that she saw an auto
       stop next to Freeman. She saw a person in the auto interact with Freeman
       while Freeman and the auto were stopped on the side of the road.
       Investigators also maintained that Freeman identified McGuffin’s Mustang
       as the auto she viewed on the night of Freeman’s disappearance. As I note
       below, Hyatt’s recall of these details was far from straightforward.

   44. Some principles and research findings from the psychology of eyewitness
       memory are instructive for understanding factors that may have influenced
       Hyatt’s experience as an eyewitness. These principles and findings are well
       accepted with Psychology, law enforcement communities, and in courts (e.g.,
       Technical Working Group, 1999; Oregon v. Lawson, 2012; Wells et al., 2020).

   45. Human memory does not act like a videorecorder, for it is reconstructive by
       nature. The videorecorder, which captures, a scene, stores it with little
       degradation over time, and plays back a faithful rendition of what occurred
       on demand, is commonly used as an analogy of how memory does not work.
       When we experience events, we do not encode a complete copy of the event
       but rather store the gist of the event with varying degrees of detail. When we
       recall an event, we may recall some details but then reconstruct additional
       details based on some combination of what actually happened and what we
       believe would have or should have happened based on our knowledge and
       experiences. The reconstructions of our memories may be accurate, distorted,
       or even wholly false, depending on such factors as the level of detail encoded,
       the passage of time, accurate or misleading information we learned or
       inferred between encoding and retrieval, and the manner and conditions in
       which we engage in recall (e.g., Lampinen, Neuschatz, & Cling, 2012; Loftus
       1979, 2005).

   46. Personal and situational factors systematically influence the accuracy of our
       memories. At the earlier stages of forming memories, our attention
       constrains our abilities to perceive details in events, and divided attention
       further challenges our perceptual abilities. We tend to focus on important
       details of events at the expense of peripheral details (Easterbrook, 1959;
       Echterhoff & Wolf, 2012). Our attention tends to be goal-directed. Distracting
       noise and the distractions of our own thoughts and activities limit our
       abilities to attend to events in our environment.



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47. There is data loss in the transfer of details from short-term to long-term
    memories, such as in the case of forgetting the name of someone with whom
    we are conversing within a minute of having been introduced (Brown, 1958).
    Examples of personal and situational influences that can influence the
    accuracy of eyewitness memory include the opportunity to view the event
    (e.g., lighting, distance), the level of attention and distraction at the time of
    the event, and the amount of time that passed between the event and the
    eyewitness interview or identification test (Lampinen, Neuschatz, & Cling,
    2012).

48. People can hold richly detailed, false memories with high levels of confidence.
    Several sources inform us that memory mistakes are common-place, and
    some have high-stakes consequences (Loftus, 1997). As discussed above,
    mistaken eyewitness identification is the most common form of misleading
    evidence in known cases of wrongful conviction (e.g., Wells et al., 2020).
    Research on false memories demonstrates that they can be induced by
    suggestive interviews and photographs. False memories can be richly
    detailed, believed as much as and hard to distinguish from true memories,
    and held with high confidence (e.g., Laney & Loftus, 2008; Loftus & Pickrell,
    1995; Shaw & Porter, 2015; Wade et al., 2002). Also as noted above, the
    retelling of false memories can strengthen one’s beliefs in the events and the
    details contained in the false memories, as in the case of imagination
    inflation (Garry et al., 1996).

49. The pattern of statements by Hyatt suggests some level of contamination by
    post-event information. Hyatt (then Hartwell) was 12-years-old at the time
    of Freeman’s disappearance. On July 11, 2000, Hartwell was interviewed by
    Detective Downing. According to Downing’s report, “Alycia stated that she
    was riding with Ms. Fuller and some other kids in Ms. Fuller’s car, and does
    remember seeing a girl that appears to be the same as the girl in the
    pictures. She advised she remembers seeing this girl walking right near the
    high school and that the girl was a blond-haired female wearing a white top
    and blue jeans. Alycia advised that she does not know Leah personally but
    her parents do, but does remember that the girl she saw was very similar to
    the girl in the photographs around town.”

50. On July 21, 2010, Hyatt testified before the Grand Jury. Her testimony
    about what she saw on the night of Freeman’s disappearance was more
    detailed, despite a 10-year gap in time from the night of Freeman’s
    disappearance. Hyatt testified that she knew Freeman because her mom
    babysat her. Hyatt also testified that she remembered seeing a car stop
    behind them. She was uncertain about her memory, but described the car as
    a darker-colored compact, maybe a Honda or Nissan, but she did not know



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   exactly. The car may have been blue, black, or dark gray. Someone in the
   car talked to Freeman.

51. After her July 21, 2010 Grand Jury testimony – on the same day – Hyatt was
    interviewed by Officers Webley and McNeely at the police department.
    According to the police report, Hyatt now remembered that the vehicle she
    was in pulled out in front of the car in question and that the car had one
    headlight dimmer than the other. As they passed the high school, she saw
    Freeman walking along the road. The car behind them pulled in by Freeman
    and someone on the passenger side either got out or leaned out the window.
    When shown photos of different cars, Hyatt chose McGuffin’s blue Mustang
    as a possible identification of the car. Thus, Hyatt’s account now included
    more incriminating information – that the car was not a compact car (as she
    had testified) but rather a blue mustang with one dim headlight – and that
    she had a different view of the car. There is no recording of the interview or
    image of the car photos shown to Hyatt.

52. The changes in Hyatt’s account between her sworn testimony and the
   responses she allegedly provided in the police interview immediately
   following her testimony led to Hyatt testifying before the Grand Jury again
   on August 11, 2010. In Hyatt’s account before the Grand Jury on August 11,
   she provided the following : The car in question had pulled up, turned a U-
   turn or something and ended up behind the van she was in, then stopped; one
   of the lights was dimmer than the other one; it was an older car because it
   had big glass bulbs; it was an older Ford Mustang; there were at least two
   people in the car; the driver never moved; and the passenger either leaned
   out of the car or got out. She further testified that she knew Freeman since
   she was little. Hyatt’s account before the August 11 Grand Jury notably
   grows increasingly more focused on McGuffin, a phenomenon common with
   inflated witness confidence in identifications. Established science, however,
   documents how this phenomenon occurs and that it is more likely the result
   of suggestiveness, contamination and post-event feedback rather than actual
   memory, which by that point has been irretrievably contaminated (e.g., Wells
   et al, 2020; National Research Council, 2014; Steblay, Wells, & Douglass,
   2014).

53. In her July 11, 2011 trial testimony, Hyatt’s account evolved further. She
    testified that she knew Freeman very well. She recalled the car with the
    dimmed headlight and the glass bulbs. This time she did not recall whether
    there was one or two people in the car, but the passenger door opened. She
    testified that the front end of car looked like a Mustang.

54. In summary, on the night of – but before – Freeman’s disappearance, Hyatt
    allegedly viewed an innocuous event while riding in a car and while engaged

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   (bickering, as she described it) with her friend. When interviewed by law
   enforcement soon after Freeman’s disappearance and murder was realized,
   Hyatt provided sparse detail. A full 10 years later, Hyatt’s account grew in
   detail and continued to grow and change in detail with successive interviews.
   The changes in her account are consistent with the well-understood
   psychological phenomena as described above, to wit, repeated interviewing,
   misleading post-event information, false memories, imagination inflation,
   and inability to distinguish actual from changed memories (e.g., Garry et al.,
   1996; Loftus, 2005; Mazzoni & Memon, 2003; Shaw, 1996). There is no way
   to ascertain the full extent to which the evolution of Hyatt’s accounts is
   directly attributable to coercion and/or contamination by the investigators.
   The investigators did not record their interviews with Hyatt. The sequence of
   events that included Hyatt’s Grand Jury testimony on July 21, 2010, the
   interview with investigators immediately following that testimony, and her
   subsequent Grand Jury testimony on August 11, 2010 strongly implies that
   post-event suggestion and/or contamination from police investigators
   contributed to or caused the changes in Hyatt’s accounts and her suggestion
   that the car she saw was similar to McGuffin’s Mustang.

55. Hyatt’s alleged photo identification of McGuffin’s Mustang is also noteworthy
    in its dearth of documentation. Established practices in eyewitness
    identification procedures involve at least documenting the details of
    identification procedures but preferably videorecording them (Wells et al.,
    2020). Even in 2000 and 2010, a professionally trained police investigator
    would have been well aware of the need to document any form of
    identification procedure, and it was a departure from established practices
    for those not to be recorded in this case. For example, with respect to the
    identification procedures, the International Association of Chiefs of Police
    issued a Model Policy on Showups, Lineups and Photograph Identifications
    (1992, 1993) that emphasized various safeguards to reduce suggestiveness
    and preserve evidence for later review.

56. Minimally adequate practices require that factfinders know whether the
    identification procedure was the equivalent of a showup or photoarray and
    whether, if the latter, the array was suggestive. Put differently, whether the
    witness was just shown a single picture (a show-up, which is inherently
    suggestive) or a series of pictures (a photo array, which can vary in
    suggestiveness depending on how it is constructed and how it is
    administered). One study of forensic-object identification (specifically
    identification of an auto involved in a crime) found that forensic-object
    lineups were superior to forensic-option showups. Lineups led to more
    accurate identification decisions, particularly those identifications made with
    high confidence and from fair lineups (see Smith et al., 2020).



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  57. Minimally adequate practices also require that the factfinder know whether
      other safeguards designed to reduce the risk of mistaken identification were
      used, including cautionary instructions, avoidance of suggestive comments or
      actions, properly-selected fillers, ensuring that the suspected vehicle does not
      stand out, double-blind administration, and the assessment of witness
      confidence immediately after the identification and prior to providing any
      validating information that could contribute to false confidence (Wells et al.,
      2020).

  58. The eyewitness principles and research discussed above can likewise be
      applied to other witness testimony and their object identifications.
      Specifically, some eyewitnesses testified that on the night Freeman went
      missing, McGuffin was seen driving his Mustang and his parent’s
      Thunderbird. McGuffin maintained that he did not have access to and was
      not driving the Thunderbird. This contested detail was relevant in
      McGuffin’s prosecution. While a Thunderbird may be easily distinguishable
      from a Mustang when seen together in real-time, memorial accounts of which
      car was seen (if any) may be influenced by inattention at the time of viewing,
      forgetting due to unimportance at the time of viewing and the passing of
      time, and other factors known to influence the accuracy of eyewitness
      accounts.


Summary

  59. In summary, witnesses Steinhoff, Hamilton, and Hyatt were subjected to
      investigation practices that had the potential to coerce and contaminate their
      testimony, as reviewed above. These practices included excessive repeated
      interviewing, the use of interrogation tactics known to enhance the risk of
      false statements, polygraphs, pretext calls, and the lack of safeguards
      designed to prevent and document coercion, contamination, and mistaken
      identification. Many of the practices used did not adhere to established
      practices for generating reliable evidence. In many respects contemporaneous
      documentation of the investigative steps was inadequate and incomplete.

  60. I reserve the right the amend my opinions upon learning new information
      about this case.




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                               Appendix A
                           Documents Reviewed

   1. Second Amended Complaint
   2. 2000-06-29 CPD, Traffic Stop of Scott Hamilton
   3. 2000-07-05 Roadblock Canvas, Interview of Scott Hamilton
   4. 2000-07-10 CBPD, Interview of Scott Hamilton
   5. 2000-07-20 Grand Jury Testimony of Scott Hamilton
   6. 2000-07-20 OSP, Interview of Scott Hamilton (Officer Perske)
   7. 2000-07-21 OSP, Interview of Scott Hamilton (Officer Perske)
   8. 2000-08-03 OSP, Interview of Scott Hamilton (Officer Oester)
   9. 2000-08-15 OSP, Interview of Scott Hamilton (Officer Oester)
   10. 2000-08, Lead Sheet
   11. 2000-09-12 CPD, Interview of Scott Hamilton (Officer Lee)
   12. 2000-09-19 OSP, Interview of Scott Hamilton (Officer Oester)
   13. 2009-10-16, CPD, Fact File of Scott Hamilton
   14. 2010-01-23, CBPD, Interview of Scott Hamilton (Officer Schwenninger)
   15. 2010-01-23 Pretext call from Scott Hamilton to Bruce McGuffin
       (recording)
   16. 2010-01-25 CPD, Interview of Scott Hamilton (Officer Webley)
   17. 2010-02-06 CPD, Interview of Scott Hamilton (Officer Webley)
   18. 2010-03-22 CBPD, Interview of Scott Hamilton (Officer Schwenninger)
   19. 2010-03-23 Pretext call from Scott Hamilton to Nick McGuffin (Recording)
   20. 2010-03-23 Pretext call from Scott Hamilton to Nick McGufffin
       (Transcript)
   21. 2010-08-11 Grand Jury Testimony of Scott Hamilton
   22. 2011-04-29 CPD, Interview of Scott Hamilton (Office McNeely) (recording)
   23. 2011-05-12 OSP, Polygraph of Dennis Hamilton (Officer Tabor)
   24. 2011-05-18 OSP, Polygraph of Scott Hamilton (Officer Tabor)
   25. 2011-07-12 Trial Transcript testimony of Scott Hamilton
   26. 2011-07-13 Trial Transcript testimony of Scott Hamilton
   27. 2020-03-25 Facebook Message from Scott Hamilton to Nick McGuffin
   28. 2000-07-11 CCSO, Interview of Alycia Hyatt (Officer Downing)
   29. 2010-07-21 Grand Jury Testimony of Alycia Hyatt
   30. 2010-07-21 Interview of Alycia Hyatt (Officer Webley)
   31. 2010-08-11 Grand Jury Testimony of Alycia Hyatt
   32. 2011-07-11 Trial Testimony of Alycia Hyatt
   33. 2000-07-05 CCSO, Roadblock Canvas, Kirsten Steinhoff (Ramsey)
   34. 2000-07-10-CPT, Interview of Steinhoff (Officer Zavala)
   35. 2000-07-20 Grand Jury Testimony of Kirsten Steinhoff
   36. 2000-09-07 CCSO, Interview of Kristen Steinhoff (Officer Stone)
   37. 2000-09-12 CPD, Interview of Kristen Steinhoff (recording)
   38. 2000-09-12 CPD, Interview of Kristen Steinhoff (Officer Lee)
   39. 2000-09-16 CPD Interview of Kristen Steinhoff (Officer Grant)

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   40. 2001-08-02 CCSO, Interview of Kristen Steinhoff (Officer Zanni)
   41. 2002-02-14 OSP, Interview of Kristen Steinhoff (Officer Davis)
   42. 2009-10-16 CBPD Department Fact File of Kristen Steinhoff
   43. 2010-01-25 CCSO, Interview of Kristen Steinhoff (Officer Looney)
   44. 2010-03-04 OSP, Interview of Kristen Steinhoff (recording)
   45. 2010-03-04 OSP, Interview of Kristen Steinhoff (transcript)
   46. 2010-06-09 CPD, Interview of Kristen Steinhoff (Officer Dannels)
   47. 2010-06-17 Polygraph of Kristen Steinhoff
   48. 2010-06-26 Interview of Kristen Steinhoff
   49. 2010-06-26 Interview of Kristen Steinhoff (video)
   50. 2010-07-30 Grand Jury Testimony of Kristen Steinhoff
   51. 2011-04-26 CPD, Interview of Kristen Steinhoff (Officer Webley)
   52. 2011-07-12 Trial Testimony of Kristen Steinhoff
   53. IACP Training Key #414: Showups, Lineup and Photo Identifications,
       1991
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                                                Appendix B

           Evaluation of the Interrogation of Kristen Steinhoff, 3/4/2010
Case Information                                                                    Table 1
Suspect Information and Personal Risk Factors                                       Table 2
Physical Environment and Context                                                    Table 3
Interrogation Tactics Summary                                                       Table 4
Rapport Building Tactics                                                            Table 4A
Investigative and Evidence Based Tactics                                            Table 4B
Social and Psychological Manipulation Tactics                                       Table 4C
Consequential Tactics                                                               Table 4D
Minimization Tactics                                                                Table 4E
Miscellaneous Tactics                                                               Table 5
Suspect Demeanor                                                                    Table 6
Suspect’s Behaviors                                                                 Table 7
Confession and Contamination Analysis                                               Table 8




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                                    Table 1: Case Information
Primary Charges:                N/A
Duration:                       1h, 16m, 26s (audio only)
Date of Interview:              March 4, 2010
Primary Investigator:           Detective Andrews (DA)
Secondary Investigator:         Detective Riddle (DR)
Evaluator(s):                   Jeffrey Kaplan, PhD
Date of Evaluation:             November 2, 2023
Retaining Attorney(s):          Maloney Lauersdorf Reiner PC
Description: Interrogation of Kristen Steinhoff as a witness regarding the homicide of Leah Freeman.




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                                    Table 2: Suspect Information
Name:                          Kristen Steinhoff
Race:                          Caucasian
Age:                           27
Gender:                        Female
Read Legal Rights:             N/A
Waived Legal Rights:           N/A
Personal Risk Factors: KS is an adult, with no diagnosed intellectual disabilities or history of mental illness.
There was no evidence that she was intoxicated, suffering from drug withdrawal, or sleep deprived at the
time of her interview.




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                      Table 3A: Physical Environment & Context
Factor                                             Description
N/A                                                     -




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                                    Table 4: Interrogation
                                      Tactics Summary
                                  Tactic Type             Count
                                  4A: Rapport Building
                                                             2
                                  Tactics
                                  4B: Evidence Based
                                                             12
                                  Tactics
                                  4C: Social and
                                  Psychological              2
                                  Manipulation Tactics
                                  4D: Consequence
                                                             5
                                  Based Tactics
                                  4E Minimization
                                                             2
                                  Tactics
                                  Total Number of
                                  Interrogation Tactics      23
                                  Used




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                               Table 4A: Rapport Building Tactics
Interrogation Tactic   Count     Notes
                                    •    KS [approximate timestamp 00:46:45, page 43]: “Yeah, if it means
                                         no more cops at my house.”
                                         DR: “Oh, come on, we're not that bad. Are we? Are we?”
                                         KS: “No, but -”
                                         DA: “Well, it’s not in uniform in a marked car or anything, and
                                         showing up with our lights and sirens on.”
                                         KS: “Yeah”
                                         DR: “That'd be a heck of a lot worse. But we look like insurance
                                         salesmen, don't we?”
                                         KS: “No, but the car gave it away.”
                                         DR: “What?”
                                         KS: “There's a red one just like it, lives just down the road from
                                         me.”
                                         DR: Oh. And that's a police officer?
                                         KS: “Yeah.”
                                         DR: “Who is it?”
                                         KS: “Oh, I can't remember. He’s Coos Bay, though.”

                                    •    DA [01:00:30, p. 56-59]: “Mm-hmm. When did you get sober?”
Small Talk                2              KS: “Um, when I was 19.”
                                         DA: “How long before this were you into drugs?”
                                         KS: “Maybe a year.”
                                         DA: “So you were only in there about three years?”
                                         KS: “Yeah.”
                                         DA: “Do you still drink?”
                                         KS: “Once in a great while.”
                                         DA: “Okay. I know you smoke.”
                                         KS: “Yeah.”
                                         DA: “Um. So you started when you were like 16? Using meth?”
                                         KS: “Yeah, 16, almost 17.”
                                         DA: “Okay.”
                                         KS: “Probably like a month away from my 17th birthday.”
                                         DA: “Mm-hmm. How did you get started?”
                                         KS: “My mom.”
                                         DA: “Really?”
                                         KS: “Mm-hmm.”
                                         DA: “She gave it to you? That's sad.”
                                         KS: “Yeah.”
                                         DA: “Mm. And did she teach you how to smoke it and everything?”

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                         KS: “No, um -- Justin Hunter. I smoked it with him the first time.”
                         DA: “Mm-hmm. And how does -- how -- I mean, what's it do to
                         you?”
                         KS: “Just makes you feel like you have energy.”
                         DA: “Okay.”
                         KS: “But I started doing so much of it that it -- it wasn't really doing
                         anything to me.”
                         DA: “Mm-hmm. Did you go through some sort of program to get
                         sober? You just quit cold turkey?”
                         KS: “Yep.”
                         DA: “Good for you.”
                         KS: “I got pregnant, and –"
                         DA: “Good for you. That's the hard way to do it, probably.”
                         KS: “Yeah. But my -- my son was worth it.”
                         DA: “Mm-hmm. How long have you -- it's John, right? John
                         Farley?”
                         KS: “Mm-hmm.”
                         DA: “How long have you guys been together?”
                         KS: “Um, 14 years altogether. I was with him when I 5 was 13. Then
                         we broke up. And I was with him when I was 15, 6 and we broke
                         up, and then when I was 18 or 19.”
                         DA: “How much older is he than you?”
                         KS: “Two years.”
                         DA: “Mm. But how long have you guys been together now? I
                         mean, this last part with no breaks?”
                         KS: “Nine years.”
                         DA: “Wow. Long time.”
                         KS: “Yeah. And we have four kids.”
                         DA: “Not -- are you married yet?”
                         KS: “No.”
                         DA: “Oh. Can't pin him down?”
                         KS: “No, we don't want to get married.”
                         DA: “Oh. I don't blame you, you know. I mean, I'm married, but,
                         you know, there's times when either financially you're not -- not in
                         our situation, but I just -- I just couldn't imagine being without
                         her.”
                         KS: “Yeah. All our friends who got married ended up getting a
                         divorce.”
                         DA: “Oh, really?”
                         KS: “Yeah.”
                         DA: “That's too bad. So, that's one way -- why not to get married, I
                         guess.”
                         KS: “Yeah.”


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                                 DA: “You guys talked after we left? What -- how's he feel about
                                 you being down here? He just wants it to end, too?”
                                 KS: “Yeah.”
                                 DA: “Did you guys argue about it?”
                                 KS: “No.”
Total                  2




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                               Table 4B: Evidence Based Tactics
Interrogation Tactic   Count    Notes
                                   •    DA [00:17:00, p. 17]: “He's talking like Leah's never coming back…”

                                   •    DR [00:18:40, p. 78]: “You know people have told us that you've
                                        actually told them things that happened?”

                                   •    DR [00:18:50, p. 18]: “You know people have told us that you've
                                        actually told them things that happened?”
Presenting Evidence       4             KS: “Things that happened? Like what?”
                                        DR: “Well, they've told us that you've actually broke down and told
                                        people that Nick did it, that you helped Nick, things like that.”

                                   •    [00:19:10, p. 18]: “And people are saying that you broke down and
                                        told your mom, and, uh, what's that guy's name? Danny
                                        Horlacher.”
                                   •    DR [00:20:50, p. 20]: “Okay. So this is what I don't understand. I
Challenging                             don't understand why Nick and Ricky would be so dead set on
                          1
Contradictions                          keeping you quiet, not wanting you talking to the cops if you didn't
                                        know anything. If they didn't think you knew anything.”
                                   •    DR [00:10:25, p. 11]: “So Kristin, I need to ask you: Is there any
                                        reason why Leah's blood would be found in that car?”

                                   •    DA [00:27:45, p. 26-27]: “Okay. And that's what I want to make
Evidence Bait             2
                                        sure. I'm trying to get a figure on who all was in that car because,
                                        um, we have DNA, you know, stuff from Leah, of course. And then
                                        several other people. And we're going to be comparing the -- what
                                        they call profiles, against that.”
                                   •    DA [00:02:20, p. 4]: “Okay. As part of this, re-look at -- excuse me --
                                        re-look at the investigation, you know, we pored over -- I mean,
                                        the one number that was thrown around was there's 4,000 pieces
                                        of paper on this -- on this case that's already in there. So we had
                                        guys poring over that stuff.”
Emphasizing Evidence      2
                                   •    DA [00:03:05, p. 4-5]: “And I don't know if you've read the paper at
                                        all about this, or seen the news, but there's some new forensic
                                        stuff that's come up in this case that we're having tested. We're
                                        doing a lot of stuff.”
Polygraph Request         3        •    DR [00:44:45, p. 40]: “Um, if we're not able to find those

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                                     polygraph results, would that be something you'd be willing to do
                                     to clear your name on this thing?”

                                 •   DR [00:46:40, p. 42-43]: “And -- you know, because different
                                     questions you could pass. If, you know -- if you were asked if you
                                     killed her and you didn't, then of course you're going to pass that
                                     question.”
                                     KS: “I didn't kill anybody.”
                                     DR: “Right. Then you would pass that question. So is that
                                     something that you would consider, and help us out?”

                                 •   DR [00:54:15, p. 51]: “It would most likely be with me here, if he's
                                     available as well. And then the polygraph examiner would be here.
                                     It would be in this room. It would take roughly, two -- three hours,
                                     probably, to do it. Because they -- you remember how it goes. A
                                     bunch of stuff ahead of time, then they hook you up to the
                                     machine and they do the test, then they talk to you about the test
                                     afterwards. So.”
                                     DA: “You willing to do that?”
Total                 12




                                          39

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                 Table 4C: Social and Psychological Manipulation Tactics
Interrogation Tactic   Count   Notes
                                  •    DR [00:29:45, p. 29]: “I want that person held accountable. Not for
                                       my own gratification, but for the mom who every night has to go
                                       to bed thinking of her dead daughter. Her daughter who was left
                                       out in the wood to decompose. You know? That's what I want
Increase Guilt            1            closure for.”
                                       KS: “Yeah.”
                                       DR: “That's what I want somebody held accountable for, is her.
                                       And her sister, and any of her -- you know, the other relatives that
                                       have had to deal with this.”
                                  •    DR [00:22:35, p. 22]: “One of the things I hear, and I've heard in
                                       following up on this thing, is that you were a source of a lot of
                                       drugs. And be that as it may, whether you were or weren't, that
Other Accusation          1            was ten years ago. And that there was a lot of the Mexican drug
                                       connection that was hanging around you. I don't know if it was
                                       from your house or your mom or whoever, but that that was a
                                       connection that was pretty prevalent around you. Is that true?”
Total                     2




                                            40

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                              Table 4D: Consequence Based Tactics
Interrogation Tactic   Count     Notes
                                    •    DR [00:23:55, p. 23]: “…my biggest fear is, is that somebody goes
                                         down for this, and they drag you down with them.
                                         KS: But I didn't do anything. I --”
                                         DR: “I'm just telling you what my biggest fear is. And for somebody
                                         like you, who's got so much going for them, who may have made a
                                         mistake or may have been involved with people you shouldn't
                                         have been involved with back then, and then you get drug down
                                         with them.”

                                    •    DR [00:24:30, p. 24]: “…not to sound cocky or overconfident or
                                         anything like that, this case is going to come to a head, soon. And
Emphasizing                              there are going to be -- there are going to be people going down,
                          4
Seriousness                              people held accountable for this. And, like I said, my biggest fear is
                                         somebody like you, who's got a family, who's got kids, who's got a
                                         good thing going in their life, is going to get drug down for
                                         something that happened ten years ago.”

                                    •    DR [00:25:45, p. 25]: “…the people who we feel are responsible
                                         have already said that when they go down, they're taking other
                                         people with them.”

                                    •    DR [00:26:00, p. 25]: “…the last thing your kids need to do is come
                                         visit you in prison. I've seen kids that have had to do that and it is
                                         not pretty.”
                                    •    DR [00:12:50, p. 14]: “I talk to people all the time. Kelly talks to
                                         people all the time. Your reaction to this thing right now isn't
Emphasizing
                          1              consistent with somebody who doesn't know something. It isn't
Expertise/Authority
                                         consistent with somebody who hasn't heard something. It isn't
                                         consistent with somebody who doesn't know something.”
Total                     5




                                              41

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                               Table 4E: Minimization Tactics
Interrogation Tactic   Count   Notes
                                  •    DR [00:24:10, p. 23]: “The people who aren't going to go down are
                                       the people who, if they know something, say something.”

                                  •    DR [00:25:00, p. 24]: “And if you think there's anybody that can
Self-Interest             2
                                       drag you down, it's important that we know about it now and you
                                       do something good for yourself now. Because the people who do
                                       something good for themselves now are going to save them
                                       heartache later. Does that make sense?”
Total                     2




                                            42

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                            Table 5: Miscellaneous Tactics
Factor                                        Description
N/A                                                -




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                                   Table 6: Suspect’s Demeanor
N/A

The lack of a video recording precludes the analysis of behavioral cues to anxiety, depression, etc.




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                               Table 7: Suspect's Behaviors
Coding Label      Frequency   Notes
Denial                17
Objection             6




                                          45

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                     Table 8: Confession and Contamination Analysis
Beyond psychological risk factors for false confession, the reliability of a confession may be assessed using
several criteria. The first criterion is the degree of fit between the confession and known evidence, and the
internal logical consistency of the confession. When confessions are logically consistent and consistent with
the known evidence, a second consideration is whether the suspect produced these details independently
or if they were first revealed to the suspect by the investigator or from some other source. Finally,
confessions may be substantiated by whether or not they revealed new evidence that was not already
known to law enforcement.

Details Originating with the Investigator
   • The investigators were the first to state that she was with Nick driving around the night that Leah
        went missing [00:03:25]

   •   Leah's blood was found in the car [00:10:20]

   •   Nick may have confessed to her [00:12:00]

   •   She had previously told people that Nick killed Leah and that she was involved [00:18:50]

   •   She saw Nick at the "Maytag place" pacing in circles [00:48:50]
Unique Details Offered by the Suspect
   • Ms. Steinhoff was the first to state that Nick was behaving "weird" that night, "acting like he was
      never going to see her again" [00:05:50]

   •   Scott Hamilton told her something about Leah's head "being on a rock" [00:07:10]

   •   Nick changed clothes that night [00:10:50]

   •   She believes now in hindsight that Nick may have killed Leah [00:17:30]

   •   Nick told her not to tell the police anything [00:20:25]




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                                                Appendix C

           Evaluation of the Interrogation of Kristen Steinhoff, 6/26/2010
Case Information                                                                    Table 1
Suspect Information and Personal Risk Factors                                       Table 2
Physical Environment and Context                                                    Table 3
Interrogation Tactics Summary                                                       Table 4
Rapport Building Tactics                                                            Table 4A
Investigative and Evidence Based Tactics                                            Table 4B
Social and Psychological Manipulation Tactics                                       Table 4C
Consequential Tactics                                                               Table 4D
Minimization Tactics                                                                Table 4E
Miscellaneous Tactics                                                               Table 5
Suspect Demeanor                                                                    Table 6
Suspect’s Behaviors                                                                 Table 7
Confession and Contamination Analysis                                               Table 8




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                                    Table 1: Case Information
Primary Charges:                N/A
Duration:                       1h, 38m, 19s
Date of Interview:              June 26, 2010
Primary Investigator:           Detective Riddle (DR)
Secondary Investigator:         Chief Dannels (CD)
Tertiary Investigator           Mike Tabor [MT]
District Attorney               Paul Frasier (PF)
Evaluator(s):                   Jeffrey Kaplan, PhD
Date of Evaluation:             October 30, 2023
Retaining Attorney(s):          Maloney Lauersdorf Reiner PC
Description: Interrogation of Kristen Steinhoff as a witness regarding the homicide of Leah Freeman.




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                                    Table 2: Suspect Information
Name:                          Kristen Steinhoff (KS)
Race:                          Caucasian
Age:                           28
Gender:                        Female
Read Legal Rights:             Yes
Waived Legal Rights:           Yes
Personal Risk Factors: KS is an adult, with no diagnosed intellectual disabilities or history of mental illness.
There was no evidence that she was intoxicated, suffering from drug withdrawal, or sleep deprived at the
time of her interview. She did, however, complain of physical illness and showed signs of it (coughing,
sniffling).




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                      Table 3A: Physical Environment & Context
Factor                                                    Description
Small Room                KS was interrogated in a very small and enclosed space by multiple authority
                          figures. This environment may create or contribute to feelings of anxiety and
                          vulnerability, and may have increased the impact of the tactics used during
                          the interrogation. Although this was a non-custodial interview, the
                          conditions may have created a sense of psychological custody. KS
                          mentioning wanting to leave several times. She also went to leave once but
                          was met at the door by another investigator who asked her if she would stay
                          (she concurred).




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                                    Table 4: Interrogation
                                      Tactics Summary
                                  Tactic Type             Count
                                  4A: Rapport Building
                                                                  4
                                  Tactics
                                  4B: Evidence Based
                                                                  48
                                  Tactics
                                  4C: Social and
                                  Psychological                   12
                                  Manipulation Tactics
                                  4D: Consequence
                                                                  26
                                  Based Tactics
                                  4E Minimization
                                                                  17
                                  Tactics
                                  Total Number of
                                  Interrogation Tactics       107
                                  Used




                                                 51

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                               Table 4A: Rapport Building Tactics
Interrogation Tactic   Count     Notes
                                    •    DR [approximate timestamp 00:47:45, page 52]: “I'm your
                                         advocate.”

                                    •    CD [00:55:35, p. 63]: “You know? We don't get many
Minimizing/                              opportunities to show, to advocate for you. And right now you – I
                          3
Misrepresenting Role                     mean, it's not looking good. So we're trying to do that for you.”

                                    •    DR [01:32:15, p. 98]: “I told you before, I'll say it again. This will be
                                         the last time I’ll probably say it. The advocate is sitting in a chair in
                                         front of you. In fact both of us, to help you, not hurt you.”
Concession                1         •    DR [01:16:10, p. 85]: “You want some water?”
Total                     4




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                               Table 4B: Evidence Based Tactics
Interrogation Tactic   Count    Notes
                                   •    MT [00:04:25, p. 7]: “Well, because I - talking with Coquille PD,
                                        they told me that at one point you told them that Ricky Crook
                                        came and told you - told you to keep your mouth shut or that he,
                                        for lack of better words, was going to beat you up.”

                                   •    MT [00:11:05, p. 13]: “Well, why do – I mean, you saying that, um,
                                        that the things that people tell us are all lies, then?”

                                   •    CD [00:22:20, p. 25]: “And based on that, and based on new leads
                                        in this case that we've developed and got statements from -”

                                   •    CD [00:26:05, p. 28-29]: “I know Nick talked to you that night, and
                                        you know that also. And that's what we're looking for, is what Nick
                                        McGuffin told you that night. And if you tell me that, and you
                                        weren't directly involved in her death -- directly means you were
                                        there, you know, and took part in killing Leah Freeman. What I'm
                                        talking about is what you were told by Nick. That is the most
                                        important aspect I want from you, which falls back to the truth.”

Presenting Evidence      12        •    CD [00:31:20, p. 33]: “I have an eyewitness that puts you and Nick
                                        talking -”

                                   •    CD [00:31:35, p. 34]: “Unfortunately, there's many -- we have so
                                        many statements, Kris...”

                                   •    CD [00:45:55, p. 50]: “Well, you were with him at a critical time.
                                        The most -- the 24 hours after you have a violent crime like this, a
                                        homicide, is the most critical time to be with somebody. Especially,
                                        in this case, the boyfriend. And you were with him. There's got to
                                        be something sparking in that time. That short time, that two
                                        hours. Let's just say two hours, plus or minus, that you were with
                                        him. There's something in that two-hour window -”
                                        KS: “I don't know.”
                                        CD: “-- that's causing you to trip yourself, consciously.”

                                   •    PF [01:22:25, p. 88-89]: “There's been a couple people that have
                                        come forward, and one of them, whose name's Michelle Emery,
                                        another is a girl named Amber Pattee or Patteé, I don't know how
                                        to pronounce it. But they’re both -”

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                                    KS: “Who the hell are they?”
                                    PF: “Well, they both say and claim that they talked to you, and
                                    they claim they heard you say that you killed Leah…”

                                •   PF [01:22:55, p. 88-89]: “Well, they both say and claim that they
                                    talked to you, and they claim they heard you say that you killed
                                    Leah...”

                                •   PF [01:23:15, p. 89]: “Well, what I'm trying to tell you is I got
                                    people out there telling me that you did it.”

                                •   PF [01:26:55, p. 93]: “Yeah, and it all comes back to you. And also
                                    you've got people out there saying you're in the freaking car with
                                    these people.”

                                •   CD [01:36:20, p. 101]: “You made a comment about Nick telling
                                    you he had an argument with her -- with Leah, correct? What was
                                    that argument about?”
                                •   MT [00:00:30, p. 2-3]: “Well, I've had a chance to review the test.
                                    I've went through all the checks and balances repetition, ran it
                                    through the computer, and you didn't pass the test today, Kristen.”

                                •   MT [00:01:45, p. 4]: “And so, even something as simple as that
                                    little number, I can tell. So when I run -- and that's just one test.
                                    When I run three different charts, and each of the different ones
                                    come up that you are not telling me the truth, then I definitely
                                    know you are not being -”

                                •   MT [00:02:15, p. 4]: “Well, why do you think you failed the test,
                                    here today?”
False Evidence       20
                                •   MT [00:02:40, p. 5]: “Okay. And I'm not saying that you failed the
                                    questions about did Nick tell you. I'm just talking about, um, Are
                                    you withholding information here today, okay? That's where we're
                                    starting at. We're starting with the easy one, okay?”

                                •   MT [00:04:00, p. 6]: “Well, because that one is not coming up
                                    honest either. And so you are telling me that I get all those right,
                                    but the only questions I get wrong are the ones dealing with you
                                    and your knowledge about Leah's death.”

                                •   MT [00:05:05, p. 7]: “There is no doubt about the failure here on


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                             the test today. There is there's no doubt about it. I mean,
                             everything - all the checks and balances come together.”

                         •   MT [00:05:20, p. 8]: “All I do is give the polygraph test and say if
                             somebody's telling the truth or not. I know that you were not one
                             hundred percent honest with me here today.”

                         •   MT [00:06:15, p. 9]: “When somebody fails it, I know they're not
                             being honest with me, okay? That's why I'm able to tell you that
                             you weren't honest on those questions.”

                         •   MT [00:08:50, p. 11]: “Well, I'm just trying to figure out how -- how
                             I'm so far off on three tests, then.”

                         •   MT [00:14:35, p. 17]: “…you're saying that it's completely wrong,
                             and I'm trying to figure out how I got it completely, completely
                             wrong. Not just me, not just my manual scoring, but then the
                             computer got it completely wrong also.”

                         •   MT [00:15:05, p. 18]: “The ones that you failed on were, um: Did
                             you participate in any way? Are you withholding any information?
                             And then I'd have to look at the other ones, but -- Have you ever
                             lied to get out of trouble? Have -- let me make sure before I say
                             these here, so I don't get them wrong. Have you ever lied to get
                             yourself out of trouble? Have you committed any crimes the police
                             don't know about? And, Have you ever lied about another person?
                             Those questions came up that you're not telling the truth.”

                         •   MT [00:16:25, p. 19]: “Well, those are -- you asked me the
                             questions that you failed, and those are the questions. And so at
                             least -- at least two of them I know that you're saying, 'Yes, I did lie
                             to you about them,' because you say there was a
                             misunderstanding.”

                         •   MT [00:17:45, p. 20]: “...so I'm just talking to you, trying to figure
                             out why you failed the polygraph test here today.”

                         •   MT [00:17:50, p. 20]: “Well, I know. See, that's the difference,
                             Kristin. I know. I know why you failed: Because you weren't honest
                             with me.”

                         •   CD [00:20:45, p. 23]: “And, I looked at them -- the results, just to
                             make sure. And I'm not a polygrapher; I'm not an expert in that

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                                    field. But I looked at what -- you can see where you had problems
                                    and when you didn't have problems.”

                                •   DR [00:42:00, p. 44-45]: “There's four people who failed. There's
                                    four people who have failed very similar questions to the
                                    questions you were asked. Do you want to take a guess as to who
                                    those people would be?”
                                    KS: “No, I have no idea. Nick?”
                                    DR: “You're right.”
                                    KS: “Ricky?”
                                    DR: “You're right.”
                                    KS: “I don't know who else.”
                                    DR: “It's another name you've said -- I -- you've said since you've
                                    been in here tonight.”
                                    KS: “Brent?”
                                    DR: “Mm-hmm. And you.”

                                •   CD [00:44:00, p. 47]: “That's where you're not -- you're getting
                                    wrapped up into the -- remember the knowledge part. Knowing
                                    what you know, from what you've said, and now not being able to
                                    prove it with a polygraph.”

                                •   CD [00:47:20, p. 51]: “And that's why I wanted to give you the
                                    benefit today to prove these people and myself wrong, and you
                                    didn't.”

                                •   CD [01:11:20, p. 78]: “And those are vital information that I think is
                                    tripping you on this, right here [points to laptop with polygraph
                                    results].”

                                •   CD [01:30:35, p. 96]: “...you're tripping the heck out of this
                                    polygraph machine, and with a confident failure. Not with a, Hey,
                                    maybe-maybe. No, it's confident you failed that test.”
                                •   MT [00:01:10, p. 3-4]: “Kristin, when I walked around in front of
                                    you and I said, ‘Your number is five,’ was there any hesitation in
                                    my voice? Was there any, like, 'I think it's five?'”
                                    KS: “No.”
                                    MT: “- it could maybe - I do that every single time. I get it right
Emphasizing Evidence   4
                                    every single time. I – and that's how well I know the polygraph
                                    works. I would not do that. Because if I walked around to you and
                                    said, 'Your number's seven,' you would look at me and go, 'No, my
                                    number was five, this thing doesn't work.' I mean, if I was in the
                                    chair I would get up and walk out. And so I only do that because I

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                                    know I'm going to get it right every single time. Okay? And so,
                                    even something as simple as that little number, I can tell.”

                                •   MT [00:02:25, p. 4-5]: “Well, you know, I had good chart readings
                                    all the way across there. I mean, you could see. I mean, I got your
                                    number right just like that. I mean, there's only one was to do that
                                    and it's because the chart readings are coming across.”

                                •   CD [00:20:25, p. 23]: “So, we didn't bring you somebody who's
                                    brand-new to this and say, 'Hey see what - enhance your skills with
                                    Kris.' No. We brought you in with someone we were confident
                                    with to do this test.”

                                •   DR [00:42:40, p. 46]: “Is there something that you think? Is there -
                                    I mean, you can't fail the polygraph unless there's something that
                                    you - it's within you. You have to have a reason. There has to be
                                    something in it that's eating at you that's -”
                                    KS: “No, nothing is -”
                                    DR: “I mean - I'm sorry. Eating is a bad word.
                                    CD: “That’s it”
                                    DR: Be comfortable. You can't fail a polygraph if he asks you the
                                    question -”
                                    KS: “Nothing is eating at me.
                                    DR: “- and you’re not being -”
                                    KS: “I'm sitting here, trying – I’ve been -”
                                    DR: “- you're not being deceptive. That's what I'm saying. You can't
                                    fail it if you - if you don't have knowledge. See what I'm saying?”
                                •   MT [00:07:55, p. 10]: “That doesn't make sense, Kristen.”

                                •   MT [00:13:30, p. 16]: “I mean, I've had friends for a long time that
                                    they have done stupid things at some point in their life, but it
                                    doesn't scare me for the next ten years. I don't sit there and dwell
                                    -- you know, think that, that that's going to scare me for the next
                                    ten years. I mean, I've had friends do really, really dumb things,
Challenging                         and -- and I don't sit there, ten years later, thinking, man, I'm still
                     10
Contradictions                      scared of that person. You know?”

                                •   CD [00:32:40, p. 35]: “Why would Ricky Crook threaten you with
                                    physical harm, if you don't know anything?”

                                •   CD [00:39:45, p. 42]: “Did you question him on that?”
                                    KS: “No.”
                                    CD: “That's a huge detail.”

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                                 •   DR [00:51:30, p. 57]: “I got a question: Why didn't you go look for
                                     her in his car? A car that she would recognize?”
                                     KS: “I don't know.”
                                     DR: “Why did you go look for her in a car that she doesn't know
                                     belongs to anybody?”

                                 •   CD [00:54:05, p. 61]: “So -- but you told Dan Lee that?”
                                     KS: “Yeah.”
                                     CD: “Why did you tell him if you knew it wasn't Leah?”

                                 •   CD [00:54:20, p. 61]: “But if you told him that wasn't Leah,
                                     because you know Leah, why would he go check into it?”

                                 •   CD [01:09:55, p. 77]: “Five-second statement, five minutes in a car.
                                     The other four minutes and 55 seconds you don't remember.”

                                 •   CD [01:11:15, p. 78]: “Okay. I'm -- listen to me. You go back, and
                                     you can't remember what you did in town, why you drove around.
                                     You end up going back to your house. And those are vital
                                     information that I think is tripping you on this, right here.”

                                 •   CD [01:33:40, p. 99]: “It's almost like the -- the hidden car, here. I
                                     mean, I'm going to go look for a person. It's like me driving my
                                     personal vehicle instead of a cop car where people can recognize
                                     me for help.”
                                 •   DR [00:05:55, p. 8]: “When somebody fails the polygraph test with
Transition Statement   1
                                     me, Kristen, I always give them a chance to explain.”
                                 •   CD [01:15:30, p. 84]: “You think - you think that we would - you
                                     think in the course of this investigation - we would turn over a
Evidence Bait          1
                                     rock, and and somebody would be able to tell us that, or has told
                                     us that?”
Total                  48




                                          58

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                 Table 4C: Social and Psychological Manipulation Tactics
Interrogation Tactic   Count   Notes
                                  •    CD [00:26:45, p. 29]: “I want to make sure that we - after ten years
                                       we’ll finally get this off you, out of your body, where it's not
                                       hurting no more, because I'm telling you I know you're hurting.
                                       You can't hold this for ten years and not hurt. I mean, you're trying
                                       to remove yourself from this, but you can't consciously until - I'm
                                       your pain reliever, if you want to call it such, in that aspect.”

                                  •    CD [00:28:25, p. 30]: “I'm here to give you credit and clear your
                                       conscience, and put this right.”

                                  •    CD [00:30:15, p. 32]: “Come on, Kris. Get it off your chest.”

                                  •    CD [00:32:10, p. 34]: “Kris, get it off your chest.”

                                  •    CD [00:34:25, p. 36]: “You're not living with yourself now. You're
                                       hurting -”

                                  •    DR [00:49:00, p. 54]: “This is about making you feel better. This is
                                       getting this off your chest after ten years.”
Increase Guilt           12
                                  •    DR [01:19:45, p. 86]: “…there's a deep burning seed in there, that's
                                       been hanging on you for ten years, that’s - I mean, until I crack that
                                       seed and make it grow and get it out of your system and your con -
                                       I - it’s going to hurt.”

                                  •    KS [01:20:40, p. 87]: “I know, but this has been going on for years
                                       and years and years -”
                                       CD: “Right.”
                                       KS: “- and I'm just so -”
                                       CD: “Internally, it has been. Internally it has been.”

                                  •    CD [01:24:20, p. 90]: “There's -- there's that conscience seed that's
                                       sitting in there eating you.”

                                  •    DR [01:24:45, p. 90]: “Kris, wouldn't it be nice to walk out of here
                                       today, after ten years, and put this behind you instead of carrying
                                       the weight of this burden?”




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                                 •   CD [01:25:00, p. 91]: “Kris, for ten years you've carried this burden.
                                     Whether you want to accept that in front of me or not, you've
                                     carried that burden. That mental anguish, that hurt -”

                                 •   CD [01:27:20, p. 93]: “Kris, I wanted you to leave here today
                                     feeling better, not worse. That was the goal of this whole session,
                                     in all aspects. And that didn't happen today, and it hasn't
                                     happened yet. And I don't -- I don't think it's going to get any
                                     better.”
Total                 12




                                          60

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                              Table 4D: Consequence Based Tactics
Interrogation Tactic   Count     Notes
                                    •    MT [00:06:40, p. 9]: “You're saying, 'No, I told you the truth.'
                                         KS: “Well, it is -”
                                         MT: “And I know - and I know that you didn't.”

                                    •    MT [00:14:30, p. 17]: “You're saying that you're telling the truth,
                                         and I'm saying that you're not telling the truth, Kristin.”

                                    •    MT [00:18:25, p. 21]: “I'm saying that you are not telling me the
                                         truth there today about everything that you know.”

                                    •    KS [00:32:45, p. 35]: “I don't know.”
                                         CD: “No, you do know.”

                                    •    KS [00:34:35, p. 37]: “- and I don't, and you guys think I'm lying.”
                                         CD: “We do.”
Information
                          9
Derogation
                                    •    CD [00:35:35, p. 38]: “We gave you an opportunity to show
                                         credibility this morning -”
                                         KS: “Yeah.”
                                         CD: “- and prove yourself. That didn't happen, Kris.”

                                    •    KS [00:44:20, p. 48]: “But I've told you everything I -”
                                         CD: “No, there's something specifically in your head -”

                                    •    DR [00:48:25, p. 53]: “…your mouth is saying one thing, but
                                         everything else is saying something else.”

                                    •    DR [00:48:40, p. 53]: “Maybe there's just something there. Just a
                                         little piece of information that - maybe you're not lying. Maybe
                                         you're lying by omission. You're not saying everything, which is
                                         considered a lie.”
                                    •    MT [00:09:50, p. 12]: “I have to write a report. I have to tell them
                                         the -- the results. I can not lie about the results. The lie -- the
Emphasizing                              results are the results, okay? And so, at some point people are
                         13
Seriousness                              going to start talking and telling everything that they know, to save
                                         their own bacon.”




                                              61

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                         •   MT [00:18:00, p. 21]: “You know, I know why you failed the
                             polygraph test. And other people are going to know, because I’m
                             going to send my report, and I've proven to those people who are
                             going to make decisions about your future.”

                         •   CD [00:25:25, p. 28]: “Remember I told you knowledge is power,
                             last week? Knowledge is also criminal when it's not explored and
                             shared with us right now.”

                         •   CD [00:31:50, p. 34]: “You understand grand - grand jury is like,
                             now it’s next week. We're rocking forward here. The finale is
                             coming, and you're on that list. Do you understand that? And not
                             on the list of the, 'Hey, I'm going to help this case,' but on the list
                             of ‘You're in trouble.’”

                         •   CD [00:34:00, p. 36]: “Kris, you're not helping yourself today.”

                         •   KS [00:47:30, p. 51]: “So what? Am I going to go to jail now
                             because I failed a polygraph?”
                             CD: “That will be up to a grand jury, Kris.”

                         •   CD [00:49:30, p. 54]: “Kris, once the grand jury starts, and once
                             that goes through the process and they make a decision who gets
                             arrested -”

                         •   CD [01:15:50, p. 84]: “And that's a question the grand jury's going
                             to want to know too.”

                         •   PF [01:23:20, p. 89]: “And I'm going to take -- I'm going to take this
                             to the grand jury, and I'm going to let everybody testify. I'm going
                             to bring in those two people; let them testify in front of the grand
                             jury. I'll bring you in front of the grand jury.”

                         •   CD [01:25:45, p. 91]: “It's coming. It's no avoidance no more. This
                             ain't ten years ago. It's coming. The train's coming down the
                             tracks.”

                         •   CD [01:31:50, p. 98]: “Because here's the deal, Kris. Once you walk
                             out of here, we won't knock on your door anymore. Well, probably
                             a subpoena for grand jury, you will get that. That's a given. And the
                             next time we will walk on your -- knock on your door, it will be the
                             result of the grand jury. Do you understand that?”


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                                 •   CD [01:37:15, p. 102]: “This is it. I'm going to walk you to the front
                                     door, and you're going to walk away, and I'll see you at grand jury.”

                                 •   CD [01:38:00, p. 103]: “Knowledge is power, in most cases. It's also
                                     criminal in others. Understand my thoughts on that, okay?”
Staring Down           4
Total                 26




                                          63

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                               Table 4E: Minimization Tactics
Interrogation Tactic   Count   Notes
                                  •    CD [00:31:45, p. 34]: “Kris, Kris, Kris. Here's the deal: There's not
                                       going to be another opportunity besides today. I'm telling you
                                       right now.”

                                  •    CD [00:35:05, p. 37]: “Kris, do you understand this is an
                                       opportunity for you?”
Self-Interest             5
                                  •    CD [00:50:00, p. 55]: “This is an opportunity that I want you to
                                       take advantage of.”

                                  •    PF [01:23:40, p. 90]: “So this is why we're giving you this chance.
                                       It's important that you tell us everything that you know.”

                                  •    DR [01:24:25, p. 90]: “This is an opportunity.”
                                  •    DR [00:10:40, p. 13]: “...especially when they're, when they're at
                                       that point in their life. And then they get worried: 'Man, I didn't
                                       say back then, I'm worried I might get in trouble today because I
                                       didn't do the right thing way back when.' People make mistakes,
Downplaying
                          2            Kristin.”
Seriousness
                                  •    CD [00:23:45, p. 26]: “Now, listen to me. You don't want to get in
                                       trouble, and I don't want to see you in trouble. Remember I said
                                       that last week?”
Degrading Others          1       •    DR [00:51:00, p. 56]: “Do you feel like he used you?”
                                  •    CD [00:24:45, p. 27]: “...but the possibility is an immunity letter.
                                       Okay? It is time that we make some decisions here on that.”

                                  •    CD [00:25:35, p. 28]: “You have my word on immunity.”

                                  •    CD [00:27:10, p. 29]: “…Mr. Fraser is willing to work with an
                                       immunity letter for you on your information, which means you will
Promise                   9
                                       not get in trouble as long as you weren't directly involved with her
                                       death.”

                                  •    CD [00:28:30, p. 31]: “I mean, I don't know what other offer you're
                                       going to have that's going to make it any better than what you're
                                       getting today, okay?”



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                                 •   CD [00:49:15, p. 54]: “And I've offered - just like car insurance. I've
                                     offered you that insurance, that immunity, to give me the talk, and
                                     I'll give you that insurance, and you won’t be in trouble.”

                                 •   CD [01:09:15, p. 76-77]: “And that's why I'm offering you, again,
                                     that immunity, to tell me what he said in detail. Or tell me in
                                     general what you remember from those conversations. That's
                                     where I'm -- I want to provide you that insurance.”

                                 •   CD [01:11:35, p. 79]: “Would it help if Mr. Frasier came in here and
                                     offered up an immunity directly from his mouth instead of mine?”
                                 •   KS: “I've told you everything -”
                                     CD: “Kris, listen to me.”
                                     KS: “There isn't anything -”
                                     CD: “Think about what I'm saying before you answer.”
                                     KS: “- that I'm not telling you.”
                                     CD: “Would it make a difference if Mr. Frasier, who is the
                                     prosecutor in this case, the one that sets charges against people,
                                     the one that's going to present this at grand jury. Not one of his
                                     folks, his people. Him. Him and I have spent many, many hours on
                                     this case. He's the one that makes those final decisions. Him and I
                                     have talked, but I'm a third party to you now, with him, okay?
                                     Consider it a rumor with me, then. Because I'm not directly telling
                                     you that, he needs to directly tell you that. Will that make a
                                     difference?”

                                 •   CD [01:12:30, p. 80]: “…if I give you my word, detective Riddle’s
                                     word, what you tell us today, two, you still go home.”
Total                 17




                                          65

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                            Table 5: Miscellaneous Tactics
Factor                                        Description
N/A                                                -




                                      66

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                                   Table 6: Suspect’s Demeanor
Anxious/Agitated (68.76% of questioning, only accounting for the period of time before the video cuts out)

For the majority of the interrogation KS appeared highly anxious and agitated. Her volume and rate of
speech were high, her voice waivered, and on numerous occasions appeared on the verge of tears.
Calm/Neutral (31.24% of questioning, only accounting for the period of time before the video cuts out)

For approximately the final third of the interrogation KS was relatively calm and collected. She sat upright,
answered questions directly, and was engaged in the conversation.




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                               Table 7: Suspect's Behaviors
Coding Label      Frequency   Notes
Denial                67
Objection             9




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                     Table 8: Confession and Contamination Analysis
Beyond psychological risk factors for false confession, the reliability of a confession may be assessed using
several criteria. The first criterion is the degree of fit between the confession and known evidence, and the
internal logical consistency of the confession. When confessions are logically consistent and consistent with
the known evidence, a second consideration is whether the suspect produced these details independently
or if they were first revealed to the suspect by the investigator or from some other source. Finally,
confessions may be substantiated by whether or not they revealed new evidence that was not already
known to law enforcement.

Details Originating with the Investigator
   • She was threatened to stay silent [00:04:30]
Unique Details Offered by the Suspect
   • Nick and Leah were fighting that night [00:29:55]

   •   Nick was walking in circles very upset [00:58::45]

   •   She was told to say she wasn't with Nick that night [01:05:30]

   •   Nick's demeanor made her believe he might have killed Leah [01:26:20]




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EMPLOYMENT HISTORY

2021 – Present   Professor and Media Psychology Program Director, School of Psychology, Fielding Graduate
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2008 – 2021      Professor of Forensic Psychology, Ontario Tech University, Oshawa, ON
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1992 – 1998      Associate Dean, College of Arts & Sciences, Florida International University, Miami, FL

PROFESSIONAL APPOINTMENTS, ACTIVITIES AND AWARDS

2021             Jane Beber Abramson Award, Northwestern University’s Pritzker School of Law
2018 – 2021      Psychology and Law Book Series of the American Psychology-Law Association
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2017 – 2022      President, Coral Coast Group, Inc. (US-Based C-Corporation)
2014 – 2016      Council Representative for Division 41, American Psychological Association
2010 – 2013      President Elect, President, and Past President of AP-LS
2005 – 2011      Editor-in-Chief, Law and Human Behavior
1989 – Present   Expert Witness in U.S. State and Federal Courts

PROFESSIONAL AFFILIATIONS

2021 – Present   Society for Media Psychology and Technology
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2009 – Present   American Psychological Association
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1983 – Present   American Psychology Law Society, (Distinguished Member 2006 – Present)



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•   Association of Heads of Departments of Psychology
•   Canadian Society of Criminology
•   Eastern Psychological Association
•   Florida Conference on Cognition, Sensation, Perception, and Action
•   European Conference on Psychology and Law
•   International Association for Applied Psychology
•   International Conference on Practical Aspects of Memory
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•   Law and Society Conference
•   Midwestern Psychological Association
•   Psychonomic Society
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•   Southeastern Psychological Association
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